     Case 2:20-cv-02913-SVW-GJS Document 1 Filed 03/27/20 Page 1 of 13 Page ID #:1




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 5
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 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     MAL KIM,                                     Case No.:
11
                  Plaintiff,                      COMPLAINT FOR INJUNCTIVE
12                                                RELIEF AND DAMAGES FOR
           vs.                                    VIOLATION OF:
13
                                                  1. AMERICANS WITH DISABILITIES
14   DIN TAI FUNG RESTAURANT, INC.                ACT, 42 U.S.C. §12131 et seq.;
15   D/B/A DIN TAI FUNG; SOO                      2. CALIFORNIA’S UNRUH CIVIL
     PROPERTIES, LLC; and DOES 1 through          RIGHTS ACT, CAL CIV. CODE §§ 51 -
16                                                52 et seq.;
     10,
17                Defendants.                     3. CALIFORNIA’S DISABLED
                                                  PERSONS ACT, CAL CIV. CODE §54 et
18                                                seq.
19                                                4. CALIFORNIA’S UNFAIR
                                                  COMPETITION ACT, CAL BUS & PROF
20                                                CODE § 17200, et seq.
21                                                5. NEGLIGENCE
22
23
24
25         Plaintiff MAL KIM (“Plaintiff”) complains of Defendants DIN TAI FUNG
26   RESTAURANT, INC. D/B/A DIN TAI FUNG; SOO PROPERTIES, LLC; and DOES 1
27   through 10 (“Defendants”) and alleges as follows:
28   //



                                   COMPLAINT FOR DAMAGES - 1
     Case 2:20-cv-02913-SVW-GJS Document 1 Filed 03/27/20 Page 2 of 13 Page ID #:2




 1                                 JURISDICTION AND VENUE
 2         1.     The Court has jurisdiction of this action pursuant to 28 USC §1331 for
 3   violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et seq.)
 4         2.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 5   arising from the same nucleus of operating facts, are also brought under California law,
 6   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 7   54, 54., 54.3 and 55.
 8         3.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 9   property which is the subject of this action is located in this district, Los Angeles County,
10   California, and that Plaintiff’s causes of action arose in this district.
11                                             PARTIES
12         4.     Plaintiff is a California resident with a physical disability with substantial
13   limitations in her ability to walk. Plaintiff requires the use of a wheelchair at all times
14   when traveling in public.
15         5.     Defendants are, or were at the time of the incident, the real property owners,
16   business operators, lessors and/or lessees of the real property for DIN TAI FUNG
17   (“Business”) located at or around 1108 S. Baldwin Ave., Arcadia, California.
18         6.     The true names and capacities, whether individual, corporate, associate or
19   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
20   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
21   Court to amend this Complaint when the true names and capacities have been
22   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
23   fictitiously named Defendants are responsible in some manner, and therefore, liable to
24   Plaintiff for the acts herein alleged.
25         7.     Plaintiff is informed and believes, and thereon alleges that, at all relevant
26   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
27   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
28




                                    COMPLAINT FOR DAMAGES - 2
     Case 2:20-cv-02913-SVW-GJS Document 1 Filed 03/27/20 Page 3 of 13 Page ID #:3




 1   the things alleged herein was acting with the knowledge and consent of the other
 2   Defendants and within the course and scope of such agency or employment relationship.
 3         8.     Whenever and wherever reference is made in this Complaint to any act or
 4   failure to act by a defendant or Defendants, such allegations and references shall also be
 5   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
 6   and severally.
 7                                 FACTUAL ALLEGATIONS
 8         9.     On or about December 19, 2019, Plaintiff went to the Business. On or about
 9   January 29, 2020, Plaintiff returned to the Business. The Business is a restaurant
10   business establishment, which is open to the public, is a place of public accommodation
11   and affects commerce through its operation.
12         10.    While attempting to enter the Business during each visit, Plaintiff personally
13   encountered a number of barriers that interfered with her ability to use and enjoy the
14   goods, services, privileges, and accommodations offered at the Business. To the extent
15   of Plaintiff’s personal knowledge, the barriers at the Business included, but were not
16   limited to, the following:
17                a.     Defendants failed to comply with the federal and state standards for
18                       the parking space designated for persons with disabilities. Defendants
19                       failed to post required signage such as “Van Access,” or “Minimum
20                       Fine $250.”
21                b.     Defendant failed to maintain the parking space designated for persons
22                       with disabilities to comply with the federal and state standards.
23                       Defendants failed to paint the ground as required.
24                c.     Defendant failed to maintain the parking space designated for persons
25                       with disabilities to comply with the federal and state standards.
26                       Defendants failed to provide the access aisles with level surface
27                       slopes.
28




                                   COMPLAINT FOR DAMAGES - 3
     Case 2:20-cv-02913-SVW-GJS Document 1 Filed 03/27/20 Page 4 of 13 Page ID #:4




 1                d.     Defendant failed to maintain the parking space designated for persons
 2                       with disabilities to comply with the federal and state standards.
 3                       Defendants failed to provide a proper ramp for the persons with
 4                       disabilities.
 5                e.     Defendants failed to maintain the parking space designated for
 6                       persons with disabilities to comply with the federal and state
 7                       standards. Defendants failed to provide proper van accessible space
 8                       designated for the persons with disabilities.
 9         11.    These barriers and conditions denied Plaintiff the full and equal access to the
10   Business. Plaintiff lives about 4 miles away from the Business. Plaintiff wishes to
11   patronize the Business again as it is conveniently located for Plaintiff. However, Plaintiff
12   is deterred from visiting the Business because her knowledge of these violations prevents
13   her from returning until the barriers are removed.
14         12.    Based on the violations, Plaintiff alleges, on information and belief, that
15   there are additional barriers to accessibility at the Business after further site inspection.
16   Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
17   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
18         13.    In addition, Plaintiff alleges, on information and belief, that Defendants
19   knew that particular barriers render the Business inaccessible, violate state and federal
20   law, and interfere with access for the physically disabled.
21         14.    At all relevant times, Defendants had and still have control and dominion
22   over the conditions at this location and had and still have the financial resources to
23   remove these barriers without much difficulty or expenses to make the Business
24   accessible to the physically disabled in compliance with ADDAG and Title 24
25   regulations. Defendants have not removed such barriers and have not modified the
26   Business to conform to accessibility regulations.
27   //
28   //



                                    COMPLAINT FOR DAMAGES - 4
     Case 2:20-cv-02913-SVW-GJS Document 1 Filed 03/27/20 Page 5 of 13 Page ID #:5




 1                                   FIRST CAUSE OF ACTION
 2       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 3         15.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5         16.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
 6   shall be discriminated against on the basis of disability in the full and equal enjoyment of
 7   the goods, services, facilities, privileges, advantages, or accommodations of any place of
 8   public accommodation by any person who owns, leases, or leases to, or operates a place
 9   of public accommodation. See 42 U.S.C. § 12182(a).
10         17.    Discrimination, inter alia, includes:
11                a.    A failure to make reasonable modification in policies, practices, or
12                      procedures, when such modifications are necessary to afford such
13                      goods, services, facilities, privileges, advantages, or accommodations
14                      to individuals with disabilities, unless the entity can demonstrate that
15                      making such modifications would fundamentally alter the nature of
16                      such goods, services, facilities, privileges, advantages, or
17                      accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
18                b.    A failure to take such steps as may be necessary to ensure that no
19                      individual with a disability is excluded, denied services, segregated or
20                      otherwise treated differently than other individuals because of the
21                      absence of auxiliary aids and services, unless the entity can
22                      demonstrate that taking such steps would fundamentally alter the
23                      nature of the good, service, facility, privilege, advantage, or
24                      accommodation being offered or would result in an undue burden. 42
25                      U.S.C. § 12182(b)(2)(A)(iii).
26                c.    A failure to remove architectural barriers, and communication barriers
27                      that are structural in nature, in existing facilities, and transportation
28                      barriers in existing vehicles and rail passenger cars used by an



                                     COMPLAINT FOR DAMAGES - 5
     Case 2:20-cv-02913-SVW-GJS Document 1 Filed 03/27/20 Page 6 of 13 Page ID #:6




 1                       establishment for transporting individuals (not including barriers that
 2                       can only be removed through the retrofitting of vehicles or rail
 3                       passenger cars by the installation of a hydraulic or other lift), where
 4                       such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
 5                d.     A failure to make alterations in such a manner that, to the maximum
 6                       extent feasible, the altered portions of the facility are readily
 7                       accessible to and usable by individuals with disabilities, including
 8                       individuals who use wheelchairs or to ensure that, to the maximum
 9                       extent feasible, the path of travel to the altered area and the
10                       bathrooms, telephones, and drinking fountains serving the altered
11                       area, are readily accessible to and usable by individuals with
12                       disabilities where such alterations to the path or travel or the
13                       bathrooms, telephones, and drinking fountains serving the altered
14                       area are not disproportionate to the overall alterations in terms of cost
15                       and scope. 42 U.S.C. § 12183(a)(2).
16         18.    Where parking spaces are provided, accessible parking spaces shall be
17   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
18   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
19   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
20   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
21   be van parking space. 2010 ADA Standards § 208.2.4.
22         19.    Under the ADA, the method and color of marking are to be addressed by
23   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
24   Building Code (“CBC”), the parking space identification signs shall include the
25   International Symbol of Accessibility. Parking identification signs shall be reflectorized
26   with a minimum area of 70 square inches. Additional language or an additional sign
27   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
28   parking space identification sign shall be permanently posted immediately adjacent and



                                   COMPLAINT FOR DAMAGES - 6
     Case 2:20-cv-02913-SVW-GJS Document 1 Filed 03/27/20 Page 7 of 13 Page ID #:7




 1   visible from each parking space, shall be located with its centerline a maximum of 12
 2   inches from the centerline of the parking space and may be posted on a wall at the
 3   interior end of the parking space. See CBC § 11B-502.6, et seq.
 4         20.    Moreover, an additional sign shall be posted either in a conspicuous place at
 5   each entrance to an off-street parking facility or immediately adjacent to on-site
 6   accessible parking and visible from each parking space. The additional sign shall not be
 7   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
 8   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 9   designated accessible spaces not displaying distinguishing placards or special license
10   plates issued for persons with disabilities will be towed always at the owner’s expense…”
11   See CBC § 11B-502.8, et seq.
12         21.    Here, Defendants failed to provide the parking space identification sign with
13   the International Symbol of Accessibility. In addition, Defendants failed to provide signs
14   stating “Minimum fine $250” or “Van Accessible.”
15         22.    For the parking spaces, access aisles shall be marked with a blue painted
16   borderline around their perimeter. The area within the blue borderlines shall be marked
17   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
18   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
19   be painted on the surface within each access aisle in white letters a minimum of 12 inches
20   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
21   11B-502.3.3.
22         23.    Here, Defendants failed to properly maintain the access aisles as there was
23   no “NO PARKING” or blue lines painted on the parking surface. Moreover, Defendants
24   failed to provide the access aisle with the minimum width of 96 inches.
25         24. Under the 1991 Standards, parking spaces and access aisles must be level with
26   surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
27   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
28   shall be part of an accessible route to the building or facility entrance and shall comply



                                   COMPLAINT FOR DAMAGES - 7
     Case 2:20-cv-02913-SVW-GJS Document 1 Filed 03/27/20 Page 8 of 13 Page ID #:8




 1   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
 2   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
 3   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
 4   directions. 1991 Standards § 4.6.3.
 5            25. Here, the access aisles are not level with the parking spaces. Under the 2010
 6   Standards, access aisles shall be at the same level as the parking spaces they serve.
 7   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
 8   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
 9   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted. 2010
10   Standards § 502.4. Here, the failure to provide level parking is a violation of the law.
11            26. The cross slope of ramp surfaces shall be no greater than 1:50. Ramp surfaces
12   shall comply with 4.5. 1991 Standards § 4.8.6. Ramps and landings with drop-offs shall
13   have curbs, walls, railings, or projecting surfaces that prevent people from slipping off
14   the ramp. Curbs shall be a minimum of 2 in (50 mm) high. 1991 Standards § 4.8.7.
15   Outdoor ramps and their approaches shall be designed so that water will not accumulate
16   on walking surfaces. 1991 Standards § 4.8.8. Ground and floor surfaces along accessible
17   routes and in accessible rooms and spaces including floors, walks, ramps, stairs, and curb
18   ramps, shall be stable, firm, slip-resistant, and shall comply with 4.5. 1991 Standards §
19   4.5.1.
20            27.   Here, Defendants failed to provide a compliant ramp for the access aisle.
21            28.   A public accommodation shall maintain in operable working condition those
22   features of facilities and equipment that are required to be readily accessible to and usable
23   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
24   maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
25   violation of Plaintiff’s rights under the ADA and its related regulations.
26            29.   The Business has denied and continues to deny full and equal access to
27   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
28   discriminated against due to the lack of accessible facilities, and therefore, seeks



                                     COMPLAINT FOR DAMAGES - 8
     Case 2:20-cv-02913-SVW-GJS Document 1 Filed 03/27/20 Page 9 of 13 Page ID #:9




 1   injunctive relief to alter facilities to make such facilities readily accessible to and usable
 2   by individuals with disabilities.
 3                                 SECOND CAUSE OF ACTION
 4                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 5         30.    Plaintiff incorporates by reference each of the allegations in all prior
 6   paragraphs in this complaint.
 7         31.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 8   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 9   national origin, disability, medical condition, genetic information, marital status, sexual
10   orientation, citizenship, primary language, or immigration status are entitled to the full
11   and equal accommodations, advantages, facilities, privileges, or services in all business
12   establishments of every kind whatsoever.”
13         32.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
14   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
15   for each and every offense for the actual damages, and any amount that may be
16   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
17   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
18   attorney’s fees that may be determined by the court in addition thereto, suffered by any
19   person denied the rights provided in Section 51, 51.5, or 51.6.
20         33.    California Civil Code § 51(f) specifies, “a violation of the right of any
21   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
22   shall also constitute a violation of this section.”
23         34.    The actions and omissions of Defendants alleged herein constitute a denial
24   of full and equal accommodation, advantages, facilities, privileges, or services by
25   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
26   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
27   51 and 52.
28




                                     COMPLAINT FOR DAMAGES - 9
     Case 2:20-cv-02913-SVW-GJS Document 1 Filed 03/27/20 Page 10 of 13 Page ID #:10




 1          35.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 2    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 3    damages as specified in California Civil Code §55.56(a)-(c).
 4                                  THIRD CAUSE OF ACTION
 5                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
 6          36.    Plaintiff incorporates by reference each of the allegations in all prior
 7    paragraphs in this complaint.
 8          37.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 9    entitled to full and equal access, as other members of the general public, to
10    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
11    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
12    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
13    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
14    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
15    places of public accommodations, amusement, or resort, and other places in which the
16    general public is invited, subject only to the conditions and limitations established by
17    law, or state or federal regulation, and applicable alike to all persons.
18          38.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
19    corporation who denies or interferes with admittance to or enjoyment of public facilities
20    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
21    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
22    the actual damages, and any amount as may be determined by a jury, or a court sitting
23    without a jury, up to a maximum of three times the amount of actual damages but in no
24    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
25    determined by the court in addition thereto, suffered by any person denied the rights
26    provided in Section 54, 54.1, and 54.2.
27          39.    California Civil Code § 54(d) specifies, “a violation of the right of an
28    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also



                                    COMPLAINT FOR DAMAGES - 10
     Case 2:20-cv-02913-SVW-GJS Document 1 Filed 03/27/20 Page 11 of 13 Page ID #:11




 1    constitute a violation of this section, and nothing in this section shall be construed to limit
 2    the access of any person in violation of that act.
 3           40.   The actions and omissions of Defendants alleged herein constitute a denial
 4    of full and equal accommodation, advantages, and facilities by physically disabled
 5    persons within the meaning of California Civil Code § 54. Defendants have
 6    discriminated against Plaintiff in violation of California Civil Code § 54.
 7           41.   The violations of the California Disabled Persons Act caused Plaintiff to
 8    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 9    statutory damages as specified in California Civil Code §55.56(a)-(c).
10                                 FOURTH CAUSE OF ACTION
11                                 UNFAIR COMPETITION ACT
12           42.   Plaintiff incorporates by reference each of the allegations in all prior
13    paragraphs in this complaint.
14           43.   Defendants have engaged in unfair competition, unfair or fraudulent
15    business practices, and unfair, deceptive, untrue or misleading advertising in violation of
16    the Unfair Competition Act. Bus & Prof. Code §§ 17200 et seq.
17           44.   Defendants engage in business practices and policies that create systemic
18    barriers to full and equal access for people with disability in violation of state and federal
19    law.
20           45.   The actions and omissions of Defendants are unfair and injurious to
21    Plaintiff, a consumer of the Business’ goods and services. As a result of Defendants’
22    unfair business practice and policies, Plaintiff suffered injury in fact. Plaintiff was not
23    provided with goods and services provided to other consumers. Plaintiff seeks relief
24    necessary to prevent Defendants’ continued unfair business practices and policies and
25    restitution of any month that Defendants acquired by means of such unfair competition,
26    including profits unfairly obtained.
27    //
28    //



                                    COMPLAINT FOR DAMAGES - 11
     Case 2:20-cv-02913-SVW-GJS Document 1 Filed 03/27/20 Page 12 of 13 Page ID #:12




 1                                    FIFTH CAUSE OF ACTION
 2                                          NEGLIGENCE
 3           46.    Plaintiff incorporates by reference each of the allegations in all prior
 4    paragraphs in this complaint.
 5           47.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 6    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
 7    to the Plaintiff.
 8           48.    Defendants breached their duty of care by violating the provisions of ADA,
 9    Unruh Civil Rights Act and California Disabled Persons Act.
10           49.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
11    has suffered damages.
12                                      PRAYER FOR RELIEF
13           WHEREFORE, Plaintiff respectfully prays for relief and judgment against
14    Defendants as follows:
15           1.     For preliminary and permanent injunction directing Defendants to comply
16    with the Americans with Disability Act and the Unruh Civil Rights Act;
17           2.     Award of all appropriate damages, including but not limited to statutory
18    damages, general damages and treble damages in amounts, according to proof;
19           3.     Award of all reasonable restitution for Defendants’ unfair competition
20    practices;
21           4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
22    action;
23           5.     Prejudgment interest pursuant to California Civil Code § 3291; and
24           6.     Such other and further relief as the Court deems just and proper.
25                                DEMAND FOR TRIAL BY JURY
26           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
27    demands a trial by jury on all issues so triable.
28    //



                                    COMPLAINT FOR DAMAGES - 12
     Case 2:20-cv-02913-SVW-GJS Document 1 Filed 03/27/20 Page 13 of 13 Page ID #:13




 1    Dated: March 27, 2020              SO. CAL. EQUAL ACCESS GROUP
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 3
 4                                       By:   _/s/ Jason Yoon_______________
                                               Jason Yoon, Esq.
 5                                       Attorneys for Plaintiff
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                                COMPLAINT FOR DAMAGES - 13
